
21 N.Y.2d 1025 (1968)
Dorothy Gramm, Respondent,
v.
State of New York, Appellant. (Claim No. 43014.)
Court of Appeals of the State of New York.
Argued February 29, 1968.
Decided April 18, 1968.
Louis J. Lefkowitz, Attorney-General (Jeremiah Jochnowitz and Ruth Kessler Toch of counsel), for appellant.
Michael R. Silberstein and Benjamin Liebov for respondent.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, KEATING and BREITEL. Judges SCILEPPI and JASEN dissent and vote to reverse and dismiss the claim on the dissenting opinion at the Appellate Division.
Order affirmed, with costs, on the majority opinion at the Appellate Division.
